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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 20-cv-20884-UU

 CRUISE PARTNERS, LLC,

        Plaintiff,

 v.

 ROYAL CARIBBEAN CRUISES LTD., etc.,

       Defendant.
 _________________________________________

                          JOINT MOTION TO EXTEND DEADLINES

        Plaintiff Cruise Partners, LLC and Defendant Royal Caribbean Cruises Ltd. (“RCCL”)

 (collectively referred to “the parties”) file this joint motion to extend the deadline for RCCL to

 respond to the Complaint from April 2, 2020 to May 2, 2020 and the deadline for the parties to

 hold the Rule 26(f) conference from April 3, 2020 to May 3, 2020. In support of this Motion, the

 parties state the following:

        1.      The Complaint in this action was filed on February 28, 2020 [ECF No. 1]. RCCL

 was served with process on March 12, 2020.

        2.      On March 13, 2020, the President of the United States issued a proclamation

 declaring a National Emergency in response to the Coronavirus Disease-2019 (“COVID-19”)

 pandemic pursuant to the National Emergencies Act (50 U.S.C. § 1601, et seq.).

        3.      On March 14, 2020, RCCL ceased all global cruise operations and on March 17,

 2020, RCCL closed its U.S. Shoreside offices as a result of the COVID-19 pandemic.

        4.      The global COVID-19 pandemic and its associated shelter in place orders have

 disrupted the parties and their respective counsel’s ordinary business operations. As a result, the
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 parties are jointly requesting that current deadlines be extended to enable RCCL to gather the

 information necessary to adequately respond to the Complaint and the parties to meaningfully

 confer regarding a proposed case schedule. The unprecedented situation presented by COVID-19

 thus constitutes good cause for the extensions of time sought herein.

        5.      Given the current situation surrounding the global COVID-19 pandemic and its

 impact on the parties’ and this Court’s operations, the proposed extensions of time will not

 prejudice either party or the Court.

        For the foregoing reasons, the parties respectfully request that the deadline for RCCL to

 respond to the Complaint from April 2, 2020 to May 2, 2020 and the deadline for the parties to

 hold the Rule 26(f) conference from April 3, 2020 to May 3, 2020. A proposed order is attached.

             CERTIFICATE OF CONFERRAL UNDER LOCAL RULE 7.1(a)(3)

        Undersigned counsel for Cruise Partners and RCCL certify that they conferred and are in

 agreement with the relief requested in this Motion.

 Dated: April 2, 2020.                        Respectfully submitted,

 /s/ Nicholas Gieseler___________             /s/Yamilet Hurtado_________________
 Nicholas Gieseler                            Yamilet Hurtado
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 Counsel for Cruise Partners, LLC             Counsel for Royal Caribbean Cruises, Ltd.




                                  CERTIFICATE OF SERVICE
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        I HEREBY CERTIFY that on April 2, 2020, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served this day on all counsel of record or pro se parties identified on the attached Service List in

 the manner specified, either via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

 to receive electronically Notices of Electronic Filing.

                                               /s/Yamilet Hurtado
                                               Yamilet Hurtado


                                          SERVICE LIST


 Nicholas Gieseler                             Yamilet Hurtado
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